S44 Rev. CASED Bixee wGO9BO-RAR DocumerhVIL EQMER SHEED Docket 05/10/2021 Page 1 of 2

The JS 44 civil cover sh
sy local rules of court.
he civil docket sheet.

I. (a) PLAINTIFFS
Hotels of Deerfield, LLC; MHG Hotels, LLC

(b) County of Residence of First Listed Plaintiff Indiana
(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

See attachment

(d) Check County Where Action Arose:

eet and the information contained herein neither replace nor supplement the filing and service of pleadings or other P
This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of t
(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) NOTICE:

apers as required by law, except as provic
e Clerk of Court for the purpose of initiati
Attorneys MUST Indicate All Re-filed Cases Below.

DEFENDANTS

Studio 78, LLC; Kalyan, Shailesh et al.

County of Residence of First Listed Defendant Georgia
(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

Attorneys (If Known)

NOTE:

See attachment

0 MIAMI-DADE [] MONROE BROWARD [J] PALMBEACH [J MARTIN []ST.LUCIE [INDIAN RIVER 0 OKEECHOBEE O HIGHLANDS

 

 

 

(I. BASIS OF JURISDICTION (Place an “X” in One Box Only) Il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintif
(For Diversity Cases Only) and One Box for Defendant)
O01 1. ‘US. Government O43 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State Ol 1 1 Incorporated or Principal Place O4 4
of Business In This State
O 2. ‘US. Government m4 Diversity Citizen of Another State O12 (1 2 Incorporated and Principal Place M5 5
Defendant (Indicate Citizenship of Parties in Item IT1) of Business In Another State
Citizen or Subject of a O03 OO 3. Foreign Nation Oe O16
Foreign Country
[V. NATURE OF SUIT (Place an “X” in One Box Only) Click here for: Nature of Suit Code Descriptions
CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
“J 110 Insurance PERSONAL INJURY PERSONAL INJURY [J 625 Drug Related Seizure (J 422 Appeal 28 USC 158 (0 375 False Claims Act
7] 120 Marine (1310 Airplane (1 365 Personal Injury - of Property 21 USC 881 [1] 423 Withdrawal 01 376 Qui Tam (31 USC
_] 130 Miller Act L315 Airplane Product Product Liability LJ 690 Other 28 USC 157 3729 (a))
_] 140 Negotiable Instrument Liability 0 367 Health Care/ 1 400 State Reapportionment
7] 150 Recovery of Overpayment [[] 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 1 410 Antitrust
& Enforcement of Judgment Slander Personal Injury C1 820 Copyrights [CJ 430 Banks and Banking
~] 151 Medicare Act (330 Federal Employers’ Product Liability C1 830 Patent [C1 450 Commerce
“J 152 Recovery of Defaulted Liability (1 368 Asbestos Personal Oo wiNew rag Appian 1 460 Deportation
. Injury Product Liability 840 Trademark 470 Racketeer Influenced «
Student Loans (340 Marine aap Dele Jrede Secrets Oo rrupt Organizations
(Excl. Veterans) (21345 Marine Product LABOR SOCIAL SECURITY oO Baer eel 1692)
71 153 Recovery of Overpayment Liability PERSONAL PROPERTY [[] 710 Fair Labor Standards CO 861 HIA (1395ff) en ee enone Geb”
of Veteran’s Benefits (350 Motor Vehicle 0 370 Other Fraud Act (1 862 Black Lung (923) 0 490 Cable/Sat TV
~] 160 Stockholders’ Suits (1 355 Motor Vehicle 1 371 Truth in Lending (1 720 Labor/Mgmt. Relations [] 863 DIWC/DIWW (405(g)) [1 850 Securities/Commodities/
Hi 190 Other Contract Product Liability (1 380 Other Personal (0 740 Railway Labor Act [1 864 SSID Title XVI Exchange
7] 195 Contract Product Liability  [] 360 Other Personal Property Damage (0 751 Family and Medical [1 865 RSI (405(g (1 890 Other Statutory Actions
t Pp g y
_] 196 Franchise Injury (1 385 Property Damage Leave Act 1 891 Agricultural Acts
(2 362 Personal Injury - Product Liability (0 790 Other Labor Litigation (1 893 Environmental Matters
Med. Malpractice (1 791 Empl. Ret. Inc. (1 895 Freedom of Information
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS Security Act FEDERAL TAX SUITS Act
(1 210 Land Condemnation (440 Other Civil Rights Habeas Corpus: 0 870 Taxes (U.S. Plaintiff L1 896 Arbitration
1 220 Foreclosure (1441 Voting 1 463 Alien Detainee or Defendant) 1 899 Administrative Procedur
: 510 Motions to Vacate 871 IRS—Third Party 26 USC Act/Review or Appeal of
C1 230 Rent Lease & Ejectment e Employment oO Sentence Oo 7609 c Agency Decision ;
43 Housing/ ‘ _| 950 Constitutionality of St
C1) 240 Torts to Land O Accommodations Other: Statutes
(1 245 Tort Product Liability (1445 Amer. w/Disabilitics - [] 530 General IMMIGRATION
(J 290 All Other Real Property Employment (J 535 Death Penalty ( 462 Naturalization Application
(1446 Amer. w/Disabilities- [[] 540 Mandamus & Other [] 465 Other Immigration
Other 1 550 Civil Rights Actions
(1 448 Education C1 555 Prison Condition
560 Civil Detainee —
1 Conditions of
Confinement
V. ORIGIN (Place an “X” in One Box Only) i
1 iginal 2 Ri d a! i Transferred from 6 Multidistrict 7 ae
O Pieced from stat O° See. lee O 4 Remisieiel o> another district Litigation O Appeal {fc C) 8 Multidistrict Cs Remanded fron
Court below) Reopened (specify) Transfer District Judge Litigation Appellate Cour
from Magistrate =, Direct
Judgment File
VI. RELATED/ (See instructions): a) Re-filed Case DYES ONO b) Related Cases MYES ONO 18 62880 5
DOCKET NUMBER: © °~CV" “RN

RE-FILED CASE(S) JUDGE: Raag Singhal

 

Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless diversity):

VII. CAUSE OF ACTION 28 U.S.C. 1332
LENGTH OF TRIAL via

CHECK IF THIS IS A CLASS ACTION

days estimated

VIII. REQUESTED IN

(for both sides to try entire case)

 

    
 

 

COMPLAINT: O UNDER FRCP. 23 DEMAND $ CHECK YES only if demanded in complaint:
JURY DEMAND: O) Yes LI No
ABOVE INFORMATION IS TRUE & CORRECT TO THE BEST
DATE af Z [ 5 ‘NEY OF eee
FOR OFFICE USE ONLY : RECEIPT # AMOUNS~ IFP JUDGE MAG JUDGE
Case 0:21-cv-60980-RAR Document 1-1 Entered on FLSD Docket 05/10/2021 Page 2 of 2

CIVIL COVER SHEET ATTACHMENT

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